               Case 2:17-cv-01731-TSZ Document 25 Filed 03/29/18 Page 1 of 11



 1                                                                     The Honorable Thomas S. Zilly
 2
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 7
 8                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
      STRIKE 3 HOLDINGS, LLC, a Delaware             Case No. 2:17-cv-01731-TSZ
11    corporation, ,
                                                     PLAINTIFF’S REQUEST FOR JUDICIAL
12                                     Plaintiff,    NOTICE IN SUPPORT OF PLAINTIFF’S
                                                     MOTION TO DISMISS DEFENDANT’S
13                                                   COUNTERCLAIMS
              v.
14
      JOHN DOE, subscriber assigned IP
15    address 73.225.38.130,

16                                   Defendant.

17
18 I.        RELIEF REQUESTED
19           Pursuant to Rule 201(b)(2) of the Federal Rules of Evidence, Plaintiff Strike 3 Holdings,
20 LLC requests the Court take judicial notice of the following documents in support of its Motion

21 to Dismiss Defendant’s Counterclaims:
22           1.     Defendant John Doe’s Rule 68 Offer of Judgment in Strike 3 Holdings, LLC v.
23 Doe, No. CV 3:17-2317-JAH-BLM, CM/ECF 15-1 (S.D. Cal. March 22, 2018), a true and
24 correct copy of which is attached hereto as Exhibit A and;
25           2.     Judgment in Strike 3 Holdings, LLC v. Doe, No. CV 5:17-07058-EJD, CM/ECF
26 23 (N.D. Cal March 6, 2018), a true and correct copy of which is attached hereto as Exhibit B.

      REQUEST FOR JUDICIAL NOTICE                                                  FOX ROTHSCHILD LLP
      (2:17-CV-01731-TSZ) - 1                                                    1001 FOURTH AVENUE, SUITE 4500
                                                                                             SEATTLE, WA 98154
                                                                                                  206.624.3600


     54767120.v1
               Case 2:17-cv-01731-TSZ Document 25 Filed 03/29/18 Page 2 of 11




 1 II.       AUTHORITY AND ARGUMENT
 2           A court may review external materials when considering a motion to dismiss if they are
 3 subject to judicial notice.” Fed. R. Evid. 201(b). “A court may take notice of factual matters
 4 that are either generally known or ‘capable of accurate and ready determination by resort to
 5 sources whose accuracy cannot be reasonably questioned.” U.S. v. Ritchie, 342 F.3d 903, 908–
 6 09 (9th Cir. 2003). Indeed, “courts regularly take judicial notice, under Rule 201, of judgments,
 7 orders, [and] actions . . . from other courts . . . .” Elder-Evins v. Casey, No. CV 09-05775 SBA
 8 LB, 2012 WL 2577589, at *4 (N.D. Cal. July 3, 2012) (collecting cases). Court regularly take
 9 “judicial notice of undisputed matters of public record, including documents on file in federal or
10 state courts.” Harris v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012). Here, the attached
11 exhibits are documents on file in federal court, including a judgment, “whose accuracy cannot
12 reasonably be questioned.”
13 III.      CONCLUSION
14           For the foregoing reasons, Plaintiff respectfully requests the Court take judicial notice of
15 the documents attached hereto as Exhibits A and B.
16           DATED this 29th day of March, 2018.
17
                                               FOX ROTHSCHILD LLP
18
19                                               s/ Bryan J. Case
                                               Bryan J. Case, WSBA #41781
20                                             Lincoln D. Bandlow, Admitted Pro Hac Vice (CSBA #170449)

21                                             Attorneys for Plaintiff
22
23
24
25
26

      REQUEST FOR JUDICIAL NOTICE                                                    FOX ROTHSCHILD LLP
      (2:17-CV-01731-TSZ) - 2                                                      1001 FOURTH AVENUE, SUITE 4500
                                                                                               SEATTLE, WA 98154
                                                                                                    206.624.3600


     54767120.v1
               Case 2:17-cv-01731-TSZ Document 25 Filed 03/29/18 Page 3 of 11




 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that on March 29, 2018, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6           J. Curtis Edmondson, WSBA #43795                         Via CM/ECF
             399 NE John Olsen Avenue                                 Via U.S. Mail
 7           Hillsboro, Oregon 97124                                  Via Messenger Delivery
             Telephone: (503) 336-3749                                Via Overnight Courier
 8
             Email: jcedmondson@edmolaw.com                           Via Facsimile
 9
10
             DATED this 29th day of March, 2018.
11
12
                                                 Melinda R. Sullivan
13                                               Legal Administrative Assistant

14
15
16
17
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19
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21
22
23
24
25
26

      REQUEST FOR JUDICIAL NOTICE                                                   FOX ROTHSCHILD LLP
      (2:17-CV-01731-TSZ) - 3                                                     1001 FOURTH AVENUE, SUITE 4500
                                                                                              SEATTLE, WA 98154
                                                                                                   206.624.3600


     54767120.v1
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                             EXHIBIT A




ACTIVE\47820970.v2-1/29/18
Case 3:17-cv-02317-JAH-BLM
         Case 2:17-cv-01731-TSZ
                             Document
                                Document
                                      15-125Filed
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                                                               Page 5 of 11
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                              EXHIBIT A
     Case 3:17-cv-02317-JAH-BLM
              Case 2:17-cv-01731-TSZ
                                  Document
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                                                                    Page 6 of 11
                                                                               Page 2 of 4



 1    J. Curtis Edmondson, CSB# 236105
      Kiren Rockenstein, CSB# 312301
 2
      Edmondson IP Law
 3    Venture Commerce Center
      3699 NE John Olsen Avenue
 4    Hillsboro, OR 97124
      Phone: 503-336-3749
 5    Fax: 503-482-7418
      Email: jcedmondson@edmolaw.com
 6
      Email: kirenr@edmolaw.com
 7

 8    Attorney for Defendant DOE 76.247.176.87

 9

10                          IN THE UNITED STATES DISTRICT COURT
11
                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12

13                                             ) Case No.: 3:17-cv-2317-JAH-BLM
       STRIKE 3 HOLDINGS, LLC,                 )
14                                             ) DEFENDANT JOHN DOE’S
              Plaintiff,                       ) RULE 68 OFFER OF JUDGMENT
15                                             )
       vs.                                     )
16
                                               )
17     JOHN DOE subscriber assigned IP address )
       76.172.87.57,                           )
18                                             )
              Defendant                        )
19                                             )
20

21           Defendant JOHN DOE subscriber assigned IP address 76.172.87.57 (“DOE”)

22    pursuant to FRCP 68, makes the following offer of judgment on STRIKE 3 HOLDINGS,

23    LLC (“S3H”) who has alleged infringement of the movies (“Works”), as attached to Exhibit
24
      A of their Complaint at Docket 1:
25
                 Whereas DOE offers the following to S3H:
26




      DOE’S OFFER OF JUDGMENT
                                                 Page 1
     Case 3:17-cv-02317-JAH-BLM
              Case 2:17-cv-01731-TSZ
                                  Document
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                                                                    Page 7 of 11
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 1              1. Judgment shall be entered in the amount of $ 3,250.00 which includes all
 2
                    damages (statutory and/or actual), costs, and attorney fees for the claim of all
 3
                    copyright infringements, if any, as alleged in the complaint;
 4
                2. DOE shall:
 5
                        a. be permanently enjoined from any future infringements of S3H’s
 6

 7
                             copyrighted Works as alleged in the Complaint;

 8                      b. delete and permanently remove the digital media files relating to

 9                           S3H’s Works as alleged in the complaint from each of the computers
10                           under DOE’s possession, custody or control;
11

12
             If DOE’s offer is accepted by S3H within the period of 14 days after service,
13
      judgment shall be entered according to “1” and “2” above.
14

15

16                                                Respectfully Offered,

17

18    Dated: March 8, 2018
19                                                J. Curtis Edmondson (CASB #236105)
                                                  Edmondson IP Law
20
                                                  3699 NE John Olsen Avenue
21                                                Hillsboro, OR 97124
                                                  Email: jcedmondson@edmolaw.com
22                                                Attorney for DOE

23

24

25

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      DOE’S OFFER OF JUDGMENT
                                                   Page 2
     Case 3:17-cv-02317-JAH-BLM
              Case 2:17-cv-01731-TSZ
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                                                                    Page 8 of 11
                                                                               Page 4 of 4



 1                                   CERTIFICATE OF SERVICE
 2
             I hereby certify that on March 8, 2018, I served a copy of the foregoing RULE 68 OFFER
 3
      by mail on the following (below):
 4
             Lincoln Bandlow
 5           Fox Rothschild LLP
             10250 Constellation Blvd., Suite 900
 6
             Los Angeles, CA 90067
 7

 8    Dated: March 8, 2018

 9                                                           J. Curtis Edmondson

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      DOE’S OFFER OF JUDGMENT
                                                    Page 3
          Case 2:17-cv-01731-TSZ Document 25 Filed 03/29/18 Page 9 of 11




                             EXHIBIT B




ACTIVE\47820970.v2-1/29/18
                                            Case
                                             Case2:17-cv-01731-TSZ
                                                  5:17-cv-07058-EJD Document
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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                           STRIKE 3 HOLDINGS, LLC,
                                   8                                                       Case No. 5:17-cv-07058-EJD
                                                        Plaintiff,
                                   9                                                       JUDGMENT
                                                  v.
                                  10                                                       Re: Dkt. No. 22
                                           JOHN DOE SUBSCRIBER ASSIGNED IP
                                  11       ADDRESS 76.247.176.87,
                                  12                    Defendant.
Northern District of California
 United States District Court




                                  13

                                  14            Defendant having submitted an Offer of Judgment pursuant to Federal Rule of Civil

                                  15   Procedure 68 and Plaintiff having accepted the same (Dkt. No. 22), it is hereby IT IS HEREBY

                                  16   ORDERED, ADJUDEGED, AND DECREED that:

                                  17            1.     Judgment shall be entered in favor of Plaintiff against Defendant in the amount of

                                  18   $3,250.00 which includes all damages (statutory and/or actual), costs, and attorney fees for the

                                  19   claim of all copyright infringements, if any, as alleged in the Complaint;

                                  20            2.     Defendant shall:

                                  21                   a. be permanently enjoined from any future infringements of Plaintiff’s

                                  22                       copyrighted Works1 as alleged in the Complaint; and

                                  23                   b. delete and permanently remove the digital media files relating to Plaintiff’s

                                  24                       Works as alleged in the complaint from each of the computers under

                                  25                       Defendant’s possession, custody or control.

                                  26
                                       1
                                  27    The “Works” are the movies which Plaintiff alleged Defendant infringed, as attached to Exhibit
                                       A of the Complaint.
                                  28   Case No.: 5:17-cv-07058-EJD
                                       JUDGMENT
                                                                                      1
                                         Case
                                          Case2:17-cv-01731-TSZ
                                               5:17-cv-07058-EJD Document
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                                                                                     03/06/18 Page
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                                                                                                    2 of 11
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                                   1   The Clerk shall close this file.

                                   2           IT IS SO ORDERED.

                                   3   Dated: March 6, 2018

                                   4                                          ______________________________________
                                                                              EDWARD J. DAVILA
                                   5                                          United States District Judge
                                   6

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                                  12
Northern District of California
 United States District Court




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                                  28   Case No.: 5:17-cv-07058-EJD
                                       JUDGMENT
                                                                               2
